     Case 2:20-cv-10149-SJM ECF No. 75, PageID.355 Filed 10/17/24 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION


WILLIE WASHINGTON,                                   Case No. 2:20-cv-10149

              Plaintiff,                             Stephen J. Murphy
                                                     United States District Judge
v.
                                                     Patricia T. Morris
BRANDON SPEZIA, et al.,                              United States Magistrate Judge

              Defendants.
                                          /


          NOTICE TO APPEAR FOR SETTLEMENT CONFERENCE

        PLEASE TAKE NOTICE that the above-entitled matter has been

scheduled for Zoom settlement proceedings on December 16, 2024 at 10:00 a.m.

All parties with settlement authority are required to be present. Failure to

produce the appropriate person(s) at the conference may result in an award of costs

and attorney fees incurred by the other parties in connection with the conference

and/or other sanctions against the noncomplying party and/or counsel.

        At least seven (7) days prior to the settlement conference, each party must

submit a confidential settlement statement to the Magistrate Judge’s chambers via

mail at 1000 Washington Ave., P.O. Box 216, Bay City, MI 48707 or via e-mail to

efile_morris@mied.uscourts.gov.
  Case 2:20-cv-10149-SJM ECF No. 75, PageID.356 Filed 10/17/24 Page 2 of 2




      The settlement statement will not become a part of the case file but will be

for the exclusive use of the Magistrate Judge in preparing for and conducting the

settlement conference. These statements are not to be filed on the court’s

electronic record and copies must not be provided to the other parties in the case.

The statements shall be limited to five (5) pages and shall include the following:

      -A short summary of the facts, including a discussion of the strengths and
      weaknesses of the case (while mindful that the magistrate judge is not trying
      the case or deciding dispositive motions at this point);

      -The parties’ position on settlement, including a present settlement proposal;

      -A report on settlement efforts to date and reasons for rejection of any offers;

      -If not already part of the court file, copies of any critical agreements,
      business records, photographs or other documents or exhibits must be
      attached to the settlement statement;

      The parties are encouraged to be candid in their statements and should

provide sufficient information so the Magistrate Judge is informed of the factual

and legal issues in the case. The summary should identify the remaining issues in

the case and the evidence that supports the party’s position on those issues. One

attorney for each party should be prepared to give a short summary of their case at

the beginning of the settlement conference.

Date: October 17, 2024                        S/ patricia t. morris
                                              Patricia T. Morris
                                              United States Magistrate Judge
